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                                                            January 24, 2024

Hon. Rachel P. Kovner
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


                                    Re:     United States v. Luis Rivas, 18-CR-398 (RPK)

Dear Judge Kovner:


        Upon further reflection and discussions with the government, we will agree to the
Court’s offer to make no factual findings about whether or not Mr. Rivas’s prior convictions
constituted relevant conduct because the determination would have no impact on Mr. Rivas’s
sentence under the Rule 11(c)(1)(C) plea. Accordingly, we do not intend to file a letter to
further press the arguments relating to relevant conduct made at yesterday’s sentencing
proceeding, and the parties are ready to proceed with sentencing at the Court’s convenience.

        Thank you for your consideration.

                                                                 Respectfully submitted,

                                                                        /s/

                                                                 Florian Miedel
                                                                 Jeremy Schneider
                                                                 Attorneys for Luis Rivas

Cc:     All Counsel
